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Attorneys for Defendant

                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                         MISSOULA DIVISION

 UNITED STATES OF AMERICA,
                                               CR 20-32-M-DWM
             Plaintiff,
      vs.
                                               DEFENDANT’S BRIEF IN
 MATTHEW ANTHONY                               SUPPORT OF MOTION FOR
 MARSHALL,                                     PROTECTIVE ORDER

             Defendant.

      On February 8, 2021, four subpoenas duces tecum (see Doc. 52) (the

“Subpoenas”) were served on Non-Parties NetJets Aviation, Inc., NetJets Sales,

Inc., NetJets Services, Inc. and NetJets Inc. (collectively, “NetJets”).

      NetJets requests that a protective order be entered to protect confidential

business, proprietary and/or customer information contained in documents

produced in response to the Subpoenas from (i) public disclosure and (ii) use

outside this criminal case.


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        Therefore, Defendant respectfully moves for a protective order requiring

that:

        (1) documents or information produced by NetJets in response to the

           Subpoenas that are stamped “CONFIDENTIAL – Pursuant to Protective

           Order” (hereinafter, the “NetJets Confidential Documents”) shall be

           used only for the purposes of and within the confines of this criminal

           case and for no other purpose;

        (2) NetJets Confidential Documents and the information contained therein

           shall be shown and/or disclosed only to:

              a. the parties to this case,

              b. the parties’ attorneys,

              c. the parties’ attorneys’ employees, experts, or consultants whose

                 review of the material is reasonably necessary for the preparation

                 and presentation of the party’s case; and

              d. judges, court personnel, and/or witnesses during witness

                 preparation, deposition, or trial testimony, and as exhibits to

                 deposition or in trial;

        (3) attorneys for the parties shall advise every authorized person who

           reviews the NetJets Confidential Documents or the information contained

           therein as to the limitations and requirements of this Order;
                                            2
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     (4) attorneys for the parties shall be responsible to employ reasonable

        measures to control duplication of, access to, and distribution of the

        NetJets Confidential Documents or the information contained therein;

     (5) none of the NetJets Confidential Documents and information contained

        therein shall be released, disclosed, or shown to any person or entity

        other than those identified in Paragraph 2 above, including by filing the

        same on a public court docket, unless ordered by the Court; and

     (6) if any person or entity moves to modify this Order, Defendant shall

        notify NetJets, as soon as possible, so that NetJets has a reasonable

        opportunity to challenge the modification. Notification shall be provided

        via mail and email to:

           NetJets Inc.
           Attn: Office of General Counsel
           4151 Bridgeway Avenue
           Columbus, Ohio 43219
           abrough@netjets.com
           lsuhayda@netjets.com


DATED this 4th day of March, 2021.

                                            /s/Timothy M. Bechtold

                                            Attorney for Defendant




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